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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    THE NATIONAL GRANGE OF THE                      No. 2:14-cv-0676 WBS DB
      ORDER OF PATRONS OF
12    HUSBANDARY,
13                      Plaintiff,                    ORDER
14           v.
15    CALIFORNIA GUILD, formerly doing
      business as “California State Grange”,
16

17                      Defendant.
18

19          This action came before the court on September 27, 2018, for hearing during the parties’

20   judgment debtor examination. (ECF No. 266.) Attorney Mark Serlin appeared on behalf of the

21   plaintiff. Attorney Mark Ellis appeared on behalf of the defendant.

22          Upon consideration of the arguments made at the hearing, and for the reasons set forth on

23   the record at that hearing, IT IS HEREBY ORDERED that:

24          1. Defendant shall produce the Hartland Promissory Note to plaintiff on or before

25   October 2, 2018;

26          2. Defendant’s objection to the presence of Mr. Komski at the judgment debtor

27   examination is overruled; and

28   ////
                                                      1
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 1           3. The September 27, 2018 judgment debtor examination is continued to October 3,

 2   2018, at 9:00 a.m., at the United States District Court, 501 I Street, Sacramento, California, in

 3   Courtroom No. 27, before the undersigned.

 4   DATED: September 27, 2018                             /s/ DEBORAH BARNES
                                                           UNITED STATES MAGISTRATE JUDGE
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